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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

FAYE PERTUIT,                   )
                                )
          Plaintiff,            )                    2:11-cv-2732-KDE-SS
                                )
     v.                         )
                                )                    NOTICE OF SETTLEMENT
UNITED COLLECTIONS BUREAU, INC. )
                                )
          Defendant.            )


       NOW COMES the Plaintiff, FAYE PERTUIT, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and is in

the process of finalizing settlement, which Plaintiff anticipates will be finalized within the next

30 days.

       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.



  DATED: January 19, 2012             By: /s/ Jonathan Hilbun
                                      JONATHAN P. HILBUN (LA BAR #29248)
                                      ATTORNEY AT LAW
                                      2404 Middlecoff Drive
                                      Gulfport, MS 39507
                                      Telephone:504.214.0459
                                      Email: jonathan.hilbun@gmail.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2012, I electronically filed the foregoing Notice of
Settlement with the Clerk of the Court by using the CM/ECF System. A true and correct copy of
said Notice was electronically submitted by electronic mail to the following:


       Kristen P. Arsenault
       kparsenault@ucbinc.com



                                                     By: /s/ Jonathan Hilbun
                                                     Jonathan Hilbun
                                                     Attorney for Plaintiff




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